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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                  ATHENS DIVISION

UNITED STATES OF AMERICA                      :
                                              :
          v.                                  :
                                              :      Case No. 3:21-cr-51 (CAR)
DAMION RASHUN MOSELY,                         :
                                              :
      Defendant.                              :
_________________________________             :

                                             ORDER

          Before the Court is Defendant Damion Rashun Mosely’s Consent Motion to Modify Bail.

(Doc. 21). Defendant was arraigned on January 24, 2022, and the Court entered an order setting

conditions of release and appearance bond, allowing Defendant to be released upon posting a bond

of $25,000 with a ten percent security. Defendant represents that he does not have the financial

means to post the required security.

          For good cause shown, Defendant’s motion is GRANTED, and the Order Setting

Conditions of Release (Doc. 14) is hereby MODIFIED to allow Defendant to be released on an

unsecured bond of $25,000. Because no security is required, Defendant may be released

immediately. All other conditions of release, as set forth in the original order, shall remain in

effect.

          SO ORDERED, this 7th day of March, 2022.


                                       s/ Charles H. Weigle
                                       Charles H. Weigle
                                       United States Magistrate Judge
